            Case 3:20-cv-00234-JWD-EWD         Document 5    06/08/20 Page 1 of 1



                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

CALEB J. ARMSTRONG (#701443)                                   CIVIL ACTION

VERSUS                                                         NO. 20-234-JWD-EWD

LOUISIANA PRISON ENTERPRISES

                                            JUDGMENT

        For the written reasons assigned,

        IT IS HEREBY ORDERED that the above captioned proceeding is DISMISSED

WITHOUT PREJUDICE for failure of the Plaintiff to correct the deficiencies of which he was

notified.

        Signed in Baton Rouge, Louisiana, on June 8, 2020.



                                                      S
                                               JUDGE JOHN W. deGRAVELLES
                                               UNITED STATES DISTRICT COURT
                                               MIDDLE DISTRICT OF LOUISIANA
